                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                           3:13-CR-00263-RJC-DCK
USA                                         )
                                            )
    v.                                      )              ORDER
                                            )
SHAKEAM DYRELL BERNABELA                    )
(16)
                                            )

         THIS MATTER is before the Court on the defendant’s Motion for

Compassionate Release, (Doc. No. 493), following his request for relief from the

warden of his institution.

         Local Criminal Rule 47.1(D) provides that the government is not required to

respond to pro se motions unless ordered by the Court.

         IT IS, THEREFORE, ORDERED that the government shall file a response to

the Motion for Compassionate Release within fourteen (14) days of the entry of this

Order.

 Signed: November 9, 2020




      Case 3:13-cr-00263-RJC-DCK Document 495 Filed 11/09/20 Page 1 of 1
